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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS
                                    WESTERN DIVISION

                                                                CIVIL ACTION NO. 3:21-cv-30098

EILEEN ANDREASSI,                                      )
     Plaintiff                                         )
                                                       )
vs.                                                    )
                                                       )
RIVERSIDE PARK ENTERPRISES, INC.                       )
d/b/a SIX FLAGS NEW ENGLAND                            )
        Defendant                                      )

                                     NOTICE OF REMOVAL

      NOW COMES the defendant, Riverside Park Enterprises, Inc. d/b/a Six Flags New England

(hereinafter “Petitioner”), by its attorney, and pursuant to 28 U.S.C. § 1441, et seq., states as

follows:

      1. The Petitioner exercises its rights under the provisions of 28 U.S.C. § 1441, et seq., to
         remove this action from the Superior Court of the Department of the Trial Court,
         Commonwealth of Massachusetts, Hampden County, in which this case is now pending
         under the name and style: Andreassi, Eileen vs. Riverside Park Enterprises, Inc. d/b/a Six
         Flags New England, Docket No. 2179CV00448.

      2. This is an action in which the District Courts of the United States have been given
         original jurisdiction in that it arises under the laws of the United States as provided in 28
         U.S.C. § 1332 because the matter in controversy exceeds the sum or value of $75,000 and
         is between citizens of different states..

      3. Specifically, the plaintiff, Eileen Andreassi (hereinafter “Andreassi”), alleges more than
         $75,000 in damages arising from an incident on October 13, 2018. Andreassi also alleges
         that she is a resident of New York, and that the Petitioner is a Massachusetts corporation
         located in Agawam, Massachusetts.

      4. This action was filed on or about August 24, 2021. The complaint was received by the
         Petitioner on September 10, 2021. In accordance with the requirements of 28 U.S.C. §
         1446, this Notice of Removal is filed within thirty (30) days after the receipt of the
         complaint upon the aforementioned Petitioner.




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    5. Pursuant to 28 U.S.C. § 1446, the Petitioner is filing contemporaneously with this Notice
       of Removal copies of the following served upon it in this action (attached hereto as
       Exhibits A, Exhibit B, Exhibit C, Exhibit D, and Exhibit E respectively):

           A.   Summonses;
           B.   Civil Action Cover Sheet;
           C.   Complaint; and
           D.   Tracking Order;

    6. Based on the foregoing, the Petitioner respectfully requests that this action be removed
       from the Superior Court, Department of the Trial Court of Massachusetts,
       Commonwealth of Massachusetts, Hampden County, to the United States District Court
       for the District of Massachusetts, Western Division, the District and Division where the
       action is pending.

    7. Written notice of the filing of this Notice will be given to the adverse party.

    8. A copy of this petition will be filed with the clerk of the Superior Court Department,
       Hampden County.

                                         CONCLUSION

    WHEREFORE, the Petitioner respectfully requests that this action be removed to this Court

and that this Court accept jurisdiction of this action and that this action be placed on the docket

of this Court for further proceedings as though this action had originally been instituted in this

Court.

                                                  THE DEFENDANT,
                                                  RIVERSIDE PARK ENTERPRISES, INC.
                                                  D/B/A SIX FLAGS NEW ENGLAND

Dated: September 23, 2021

                                                  By s/ Jeffrey J. Trapani
                                                  Jeffrey J. Trapani, Esq., BBO # 661094
                                                  Robinson Donovan, P.C.
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and copies will be sent via email to those indicated as non-registered participants** on this 23rd
day of September, 2021.

**
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                                                     /s/ Jeffrey J. Trapani
                                                     Jeffrey J. Trapani




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